Case 2:04-cr-20100-.]P|\/| Document 211 Filed 07/22/05 Page 1 of 7 Page|-D 308
UNiTED STATES DlSTR|CT COURT

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-v- 2¢°4CR2°1°°'°3'M' W.p ef'i?i`i.l?eliiis
KYBRlc LAMARlo DoueLAs

Mar_ty McAfee, Retained

Defense Attorney
246 Adams Avenue
Memphis, TN 38103

 

JUDGMENT |N A CRIM|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 2 of the indictment on February 18, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & Section MLL Offense Number(s)
Concluded
18 U.S.C. § 1951 Rot)bery 10/25/2003 2

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

Counts 1, 3 and 4 dismissed on the motion of the United States.

lT lS FURTHER CRDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 08/04/1980 Ju|y 21, 2005
Deft’s U.S. Marsha| No.: 19494-076

Defendant’s Mai|ing Address:
2879 Beverly Hil|s Road, #25

Memphis,mms /AQ Mc@M

N PH|PPS MCCALLA
NlTED ATES DlSTR|CT JUDGE

July 2& , 2005
This document entered on the docket shoe in com |lance
with aule 55 555/or 3215) Fnch on 12 '2}§¢2‘0,2_

   

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IMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 36 Months (or 3 Years).

The Court recommends to the Bureau of Prisons:
‘l. The defendant be incarcerated in a facility near the iViemphis, TN area.

2. The defendant be allowed to participate in the 500-hour intensive drug rehabilitation
treatment program.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Marshai.

RE'|'URN

i have executed this judgment as foiiows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. iViarsha|

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised release, the defendant shall not commit another federai, state
or local crime and shall not possess a t"lrearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicia| district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation ocher and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchasel possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physicianl and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid. used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation ofhcer within 72 hours of being arrested or questioned by a

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law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record cr personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminai Nlonetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Office.

2. The defendant shall cooperate with DNA collection as directed by the Probation Office.

3. The shall seek and maintain full-time employment

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ai| of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Totai Fine Totai Restitution
$1 00.00 $328,500.00

The Special Assessment shall be due immediate|y.

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FiNE
No fine imposed.
*REST|TUT|ON

Restitution in the amount of $328,500.00 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed below.

 

Priority
Totai Amount of Order
Name of payee Amount Restitut|on Ordered or
of Loss Percentage
of Payment

Fiextronics, inc., $328,500.00 $328,500.00
Attn: Allan Hark|eroad,
Controiler
6419 Sheiby View Dn`ve

lVlemphis, TN 38119

*Restitution is to be gaid ioint and several with codefendants Emad Bahhur Darren
Lee Maclin and Gerald Nornhiet in case 2:04CR20100.

 

lf the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified othen/vise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same uniess,
pursuant to 18 U.S.C. § 3664(f)(3)(B)l the court orders nominal payments and this is
reflected in the Statement of Reasons page.

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SCHEDULE OF PA¥MENTS

Having assessed the defendants ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income.

Uniess the court has expressly ordered othenivise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment Aii criminal monetary penalties, except those payments made through the
Federai Bureau of Prisons’ inmate Financial Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer, or the United States attomey.

The defendant shall receive credit for ali payments previously made toward any criminal monetary
penalties imposed.

 
 

   

UNITED `SATESDTISRICT COURT - WESTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 211 in
case 2:04-CR-20100 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

 

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Marty B. McAfee
MCAFEE & MCAFEE
246 Adams Ave.
1\/lemphis7 TN 38103

Honorable Jon McCalla
US DISTRICT COURT

